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 IN THE UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
 EASTERN DIVISION




  ------------------------------------------------------ .
                                                         : CASE NO. 1:11 CV 01370
  SHIRLEY BROWN,                                         :
                                                         :
                                             Plaintiff, : MEMORANDUM OF OPINION AND
                                                         : ORDER
                           -vs-                          :
                                                         :
                                                         :
  MICHAEL CHAPMAN, et al.,                               :
                                                         :
                                        Defendants.
  ------------------------------------------------------



 UNITED STATES DISTRICT JUDGE LESLEY WELLS

         Before the Court is a motion for summary judgment filed by defendants City of

 Cleveland, Michael Chapman, Belal Ilain, Erik Melendez, Pedro Vargas, David Skrletts,

 Kevin Kincaid, James Merritt, Richard Rusnak, Mark Blaine, Dominik Pendelton,

 Gregory Jones, Kevin Walker, and John Sattler (collectively “defendants”). The

 defendants maintain they are entitled to qualified immunity from the plaintiff’s

 constitutional claims, and they assert state law immunity from the plaintiff’s state law

 claims pursuant to R.C. § 2744. The plaintiff has filed an opposition brief. (Doc. 33). The

 defendants have filed a reply. (Doc. 35). The plaintiff filed two notices of supplemental
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 authority. (Doc. 36, 37). For the reasons that follow, the defendants’ motion is granted in

 part and denied in part.



                                               I.

        Following a traffic stop by Cleveland Police, Rodney Brown died while in custody.

 Mr. Brown’s mother, Shirley Brown, brought this lawsuit on the decedent’s behalf

 against the City of Cleveland (“Cleveland”) and the numerous police officers named

 above, alleging claims of excessive force and deliberate indifference pursuant to 42

 U.S.C. § 1983, state law assault and battery, and state law wrongful death.

        At 8:45 P.M. on December 31, 2010, defendant Officers Michael Chapman and

 Belal Ilain initiated a traffic stop of Mr. Brown at the intersection of E. 113th and Benham

 Ave in Cleveland, Ohio. (Doc. 25-1; Doc. 25-2, p. 13; Doc. 25-3, p. 7). According to the

 police, the reason for the stop was that Mr. Brown was operating a vehicle after dark

 without headlight illumination. (Doc. 25-2, p. 13; Doc. 25-3, p. 7). The plaintiff disputes

 this claim, asserting that Mr. Brown’s headlights were lit at the time of the stop. (Doc.

 33-8, ¶4).

        It is undisputed that during the stop, Officers Chapman and Ilain approached the

 vehicle and asked Mr. Brown for his license and registration. (Doc. 25-2, p. 13). After

 repeated requests, Mr. Brown did not produce his license and registration. (Doc. 25-2,

 p. 26). Suspecting that Mr. Brown was intoxicated, the officers ordered him out of the

 vehicle. (Doc. 25-2, p. 24; Doc. 33-8, ¶6). Mr. Brown stepped out of the car. (Doc. 33-8,




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 ¶6). The officers assert that he did so in an aggressive and threatening manner. (Doc.

 25-2, p. 14; Doc. 25-3, p. 14).

        The officers ordered Mr. Brown to place his hands on the hood of the car. (Doc.

 33-8, ¶7). Mr. Brown complied, and the officers initiated a pat down. (Doc. 33-8, ¶7). At

 this point the parties’ respective stories diverge. According to the plaintiff, while patting

 down Mr. Brown, Officer Chapman elbowed Mr. Brown in the back of the neck, forcing

 his head down toward the car trunk. (Doc. 33-9, ¶7). Mr. Brown responded to the blow,

 the plaintiff contends, by breaking away from the officers, crossing the street, and

 turning to face them. (Doc. 33-9, ¶8). The plaintiff maintains that Officer Chapman

 responded, in turn, by firing his taser directly at Mr. Brown’s chest without warning.

 (Doc. 33-9, ¶9). According to the plaintiff, Mr. Brown leaned forward and said “ow,” but

 the taser had no other apparent effect on Mr. Brown. (Doc. 33-8, ¶10).

        The officers, on the other hand, deny the plaintiff’s claim that Officer Chapman

 elbowed Mr. Brown in the back of the neck. According to the officers, they began a pat

 down, and, after placing the decedent under arrest, they tried to handcuff Mr. Brown,

 but the decedent started to physically resist them. (Doc. 25-2, p. 15; Doc. 25-3, p. 18).

 The officers say that Mr. Brown pulled away from them, and Officer Chapman drew and

 pointed his taser at the decedent. (Doc. 25-3, p. 19). Officer Chapman claims that he

 told Mr. Brown to get down on the ground and warned him that he would be tased if he

 did not. (Doc. 25-3, p. 19). Instead of complying, Mr. Brown took a step toward the

 officers, and Officer Chapman fired the taser at Mr. Brown’s chest. (Doc. 25-2, p.15).




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        While the parties dispute the facts leading up to the initial taser deployment, they

 are in agreement that the taser did not immobilize Mr. Brown. (Doc. 33-8, ¶10; Doc. 25-

 2, p. 15). The parties agree that after being struck with the taser barbs, Mr. Brown ran

 away from the officers down Benham Avenue and that the officers gave chase, while

 Officer Ilain called for back up. (Doc. 33-8, ¶10; Doc. 25-2, p. 15). The officers claim

 that, during the chase, they saw the decedent reaching into his pants or his pocket,

 possibly for a weapon, and the officers later learned that the decedent had a knife.

 (Doc. 25-2, pp. 15-16). The officers eventually caught up to Mr. Brown in front of a

 house on E. 114th street. (Doc. 25-2, p. 15-16). Both officers used their tasers in drive

 stun mode to induce the decedent’s compliance, but the tasers still had no effect. (Doc.

 25-2, p. 16). The defendants claim, and the plaintiff does not dispute, that Mr. Brown

 swatted the officers’ tasers away; that he punched and kicked the officers; that he

 grabbed Officer Chapman’s arm and twisted his wrist; and that he struck Officer Ilain

 with the flat side of his knife. (Doc. 25-2, pp. 15-16; Doc. 25-3, p. 31). It is further

 undisputed that Officer Chapman responded to the decedent’s actions by drawing his

 gun and putting it to the decedent’s back. (Doc. 25-2, p. 17). The officer never fired his

 weapon, however, since Officer Ilain was able to disarm the decedent before Chapman

 opted for lethal force. (Doc. 25-2, p. 17). Officer Ilain advised Officer Chapman not to

 shoot, and Chapman holstered his service weapon. (Doc. 25-2, p. 17; Doc. 25-3, p. 44).

        At this point, the decedent was disarmed, but still uncuffed, and still resisting.

 Realizing that his taser was having no effect on Mr. Brown and concerned that the

 device might be used against him and his fellow officer, Officer Ilain threw it out of the


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 decedent’s reach. (Doc. 25-3, p. 33). The altercation had reached, as the defendants

 characterize it, a “stalemate.” The decedent began shouting to whomever would listen

 to “go get my people,” and the officers observed that a crowd was gathering around

 them. (Doc. 25-2, pp. 17-18; Doc. 25-3, p. 43). According to the defendants, the crowd

 remained under control, once it was apparent that the decedent was fighting police

 officers.

        As the struggle continued, a number of other officers began to arrive. Officers

 Vargas and Melendez came first. (Doc. 25-4, p. 8; Doc. 25-5, p. 23). Vargas drew his

 taser, but Officer Ilain told him not to use it because it was having no effect on the

 decedent. (Doc. 25-2, p. 18). Officers Melendez and Vargas joined in the attempt to

 restrain the still resisting decedent. Officers Merritt and Rusnak came next. Officers

 Chapman and Ilain, at this point exhausted from the struggle, disengaged from the

 decedent. (Doc. 25-2, pp. 18-19; Doc. 25-4, pp. 12-13; Doc. 25-5, pp. 30-31; Doc. 25-7,

 p. 11; Doc. 25-8, p. 6). Officer Mark Blaine arrived and joined in the attempt to arrest the

 decedent, but the decedent continued to resist. (Doc. 25-6, p. 7). Officer David Skrletts

 arrived next and observed that the decedent was kicking the officers who were trying to

 effectuate the arrest. (Doc. 25-9, p. 17) Officer Skrlett took hold of the decedent’s legs,

 crossed them, and applied pressure in an effort to gain compliance. (Doc. 25-9, p. 17).

 With a total of eight officers on the scene, they finally managed to handcuff the

 decedent using Officer Rusnak’s handcuffs. (Doc. 25-5, p. 35).

        After the decedent was handcuffed, Officer Rusnak learned that the decedent

 had been tased during the struggle and he called for EMS. (Doc. 25-8, p. 5). The


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 defendants state that Cleveland Police policy requires a call for a supervisor and EMS

 for any subject who has been tased. (Doc. 25-8, pp. 24, 32, 35).

        The officers contend, and the plaintiff does not dispute, that Mr. Brown continued

 to resist, kicking his legs, even after the handcuffs were applied. (Doc. 25-5, p. 35).

 When the officers stood the decedent up, he complained to Officer Melendez that he

 could not breathe, to which Officer Melendez responded, “Who gives a fuck?” (Doc. 25-

 5, p. 37). The decedent continued to resist, however. Before placing the decedent in a

 police car, Officer Melendez decided to search him, but, before he could do so, the

 decedent attempted to kick Officer Melendez. (Doc. 25-5, p. 41). Officer Melendez

 disengaged from the decedent, and Officers Blaine and Vargas took over. (Doc. 25-4,

 pp. 24-25; Doc 25-6, pp.11-14). Blaine braced the decedent against a nearby handicap

 ramp and searched him for weapons. (Doc. 25-6, p.11). According to the defendants,

 several officers were needed to move the decedent from the ramp to the patrol car, as

 he continued to resist by alternatively jerking his body and going limp, requiring officers

 to carry him to the car. (Doc. 25-7, pp. 12-13; Doc. 25-8, pp. 16, 20-21; Doc. 25-10, pp.

 12-13).

        At the car, the decedent continued to resist, “kicking, and fighting, and snarling,”

 requiring multiple officers to move him inside. (Doc. 25-6, p. 15; Doc. 25-7, p. 13; Doc.

 25-8, pp. 25-26; Doc. 25-10, pp. 12-13). Once inside, Mr. Brown remained agitated,

 screaming and kicking the door. (Doc. 25-4, p. 37; Doc. 25-7, p. 37). Officer Rusnak

 monitored Mr. Brown and told him to calm down. (Doc. 25-8, pp. 29-38). Mr. Brown

 complained to Officer Rusnak that he was having trouble breathing, and Officer Merritt


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 opened the windows of the police car to give him more air. (Doc. 25-7, p. 14).

 Eventually, the decedent became quiet and subdued. (Doc. 25-7, p. 17; Doc. 25-8, p.

 29). Rusnak noted that the decedent became unresponsive; the officer shone a

 flashlight in the decedent’s eyes, but his pupils did not constrict. (Doc. 25-8, p. 29). At

 some point, Sgt. Sattler arrived, finding Mr. Brown slumped in the back seat of the car.

 As EMS sirens were heard approaching, either Sgt. Sattler or Officer Rusnak decided to

 move the decedent, still quiet and subdued, from inside the car to the curb, where,

 according to the defendants, he remained sitting up under his own power until EMS

 arrived. (Doc. 25-7, p. 17). However, when EMS did arrive, paramedics found the

 decedent “propped up” on the curb leaning against one of the officer’s legs. (Doc. 25-

 12, pp. 19-20). The paramedics observed that the decedent was unresponsive and had

 gone into cardiac arrest. (Doc. 25-12, pp. 13,19; Doc. 25-11, pp. 7, 9). Paramedics

 administered CPR but they were unable to resuscitate him. Mr. Brown was pronounced

 dead at 10:25 p.m.

        The coroner determined that Mr. Brown’s death was a homicide caused by a

 “cardiopulmonary arrest following physical exertion during law enforcement activity.”

 (Doc. 25-19). The plaintiff’s expert pathologist concluded “that Mr. Rodney Brown died

 as a result of the direct effects of tasering on an enlarged hypertensive heart. The

 strenuous physical struggle contributed to the increased physiological demands upon

 the heart of this emotionally disturbed individual, leading to a fatal arrhythmia.” (Doc. 33-

 6, p. 8).




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        The decedent’s mother Shirley Brown filed this lawsuit on July 6, 2011 against

 the City of Cleveland and Cleveland Police Officers Michael Chapman, Belal Ilain, Erik

 Melendez, Pedro Vargas, David Skrletts, Kevin Kincaid, James Merritt, Richard Rusnak,

 Mark Blaine, Dominik Pendelton, Gregory Jones, Kevin Walker, and John Sattler. The

 plaintiff alleges claims of excessive force and deliberate indifference to a serious

 medical condition under 42 U.S.C. § 1983, along with state law claims of assault and

 battery and wrongful death. The defendants move for summary judgment.

                                              II.

        Summary judgment is warranted “if the pleadings, the discovery and disclosure

 materials on file, and any affidavits show that there is no genuine issue as to any

 material fact and that the movant is entitled to judgment as a matter of law.”

 Fed.R.Civ.P. 56(c). “In deciding a motion for summary judgment, this court views the

 factual evidence and draws all reasonable inferences in favor of the nonmoving

 party.” McLean v. 988011 Ontario, Ltd., 224 F.3d 797, 800 (6th Cir. 2000) (citing

 Northland Ins. Co. v. Guardsman Prods., Inc., 141 F.3d 612, 616 (6th Cir. 1998)). “In

 qualified immunity cases, this usually means adopting . . . the plaintiff’s version of the

 facts.” Scott v. Harris, 550 U.S. 372, 378 (2007).

        To prevail on a section 1983 claim, a plaintiff “must establish that a person acting

 under color of state law deprived [him] of a right secured by the Constitution or laws of

 the United States.” Smoak v. Hall, 460 F.3d 768, 777 (6th Cir. 2006) (citing Waters v.

 City of Morristown, 242 F.3d 353, 358-59 (6th Cir. 2001)). A defendant may assert “the

 defense of qualified immunity, which shields government officials from ‘liability for civil


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 damages insofar as their conduct does not violate clearly established statutory or

 constitutional rights of which a reasonable person would have known.’” Id. (quoting

 Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). “In qualified immunity cases, the

 plaintiff bears this burden; he must show that the defendant is not entitled to qualified

 immunity.” Wysong v. City of Heath, 260 Fed.Appx. 848, 852 (6th Cir. 2008) (citing

 Wegener v. City of Covington, 933 F.2d 390, 392 (6th Cir. 1991)).

        When determining whether the allegedly injured party has met this burden, the

 Court “typically employs a two-step analysis,” asking: “‘(1) whether, considering the

 allegations in a light most favorable to the party injured, a constitutional right has been

 violated, and (2) whether that right was clearly established.’” Smoak, 460 F.3d at 777

 (quoting Estate of Carter v. City of Detroit, 408 F.3d 305, 310-11 (6th Cir. 2005)).

                                             III.

                                 A. Probable Cause to Stop

        The parties first disagree as to whether Officers Chapman and Ilain lawfully traffic

 stopped the decedent. The Fourth Amendment to the United States Constitution

 protects “against unreasonable searches and seizures.” U.S. Const. Amend. IV. A traffic

 stop is considered a Fourth Amendment “seizure.” Delaware v. Prouse, 440 U.S. 648,

 653 (1979). A traffic stop does not violate the Fourth Amendment when the officer has

 probable cause to believe that a traffic violation occurred. U.S. v. Ferguson, 8 F.3d 385,

 391 (6th Cir. 1993). In the present case, the defendants maintain that the stop was

 lawful because Mr. Brown was operating his vehicle after dark without headlight

 illumination in violation of § 437.02 Cleveland Municipal Code. (See Doc. 27-15). The


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 plaintiff contends his headlamps were lit, and she provides the declarations of two

 witnesses, Priscilla Ellston and William Vaughn, both of whom claim that “[t]he lights on

 the young man’s car were on when I observed the police talking to him.” (Doc. 33-8, ¶4;

 Doc. 33-9, ¶4).

        Upon review of the plaintiff’s declarations, the Court concludes that she fails to

 meet her summary judgment burden. The trouble is that Ms. Ellston and Mr. Vaughn

 only observed Mr. Brown’s car after the traffic stop had been effected. When the police

 intiated the stop of the decedent, Ellston and Vaughn were inside their home on E.

 113th Street. As such, neither Ms. Ellston nor her husband observed whether Mr.

 Brown’s headlights were on when the police made the stop. As stated in their

 declarations, they observed the lights from a police car outside the window of their

 home, which drew them outside. They saw Mr. Brown’s car, already stopped in front of

 their home, with its headlights illuminated. In the Court’s view, a jury could not

 reasonably make the inference that Mr. Brown’s headlamps were illuminated while he

 was traveling based simply on the observation that his headlamps were illuminated after

 his car had been stopped. While this may have been the case, it is not sufficient to

 “simply show that there is some metaphysical doubt as to the material facts.”

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986); see also

 Michigan Protection and Advocacy Serv., Inc. v. Babin, 18 F.3d 337, 341 (6th Cir. 1994)

 (the plaintiff must present “more than a scintilla of evidence in support of his position;

 the evidence must be such that a jury could reasonably find for the plaintiff”). In this

 instance, the plaintiff has failed to bring forth evidence that would lead a reasonable jury


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 to conclude that Mr. Brown’s headlamps were lit at the time of the stop and that the

 officers stopped Mr. Brown without probable cause.

                                     B. Excessive Force

        The plaintiff’s claims of excessive force are limited to two particular instances:

 whether Officer Chapman used excessive force (1) when he allegedly struck Mr. Brown

 with an elbow in the back of the neck; and (2) when he initially tased Mr. Brown in the

 chest.1 To support the claims against Officer Chapman, the plaintiff submits the

 declarations of Ms. Ellston and Mr. Vaughn, who state the following:

        6. The officers told Mr. Brown to exit his car. Mr. Brown cooperated. He kept
        asking the officers what he had done.

        7 The officers had Mr. Brown stand behind his car and told him to get on the car.
        As Mr. Brown was complying, [Officer Chapman] elbowed Mr. Brown in the back
        of the neck.

        8. Mr. Brown pushed the officer off of him, ran across the street, and faced the
        officers.

        9. Then [Officer Chapman] pointed his taser at Mr. Brown and tased him in the
        chest. I did not hear the officer give any warning to Mr. Brown before he was
        tased.

 (Doc. 8).

        While the defendants dispute these allegations, for the purposes of qualified

 immunity, the Court must accept the plaintiff’s version of the facts as true.




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         As stated by the plaintiff, she “makes no claims that any of the
         Defendants’ actions following Chapman’s initial tasing of Mr. Brown
         constitute excessive force nor does the plaintiff make any excessive force
         claims against any other officer.” (Doc. 33, p. 13).

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        To determine whether force is excessive, the Court considers whether the use of

 force was “objectively reasonable.” Scott v. Harris, 550 U.S. 372, 381 (2007).

 Reasonableness “must be judged from the perspective of a reasonable officer on the

 scene, rather than with the 20/20 vision of hindsight” and “‘not every push or shove,

 even if it may later seem unnecessary in the peace of a judge’s chambers,’ violates the

 Fourth Amendment.” Graham v. Connor, 490 U.S. 386, 396 (quoting Johnson v. Glick,

 481 F.2d 1028, 1033 (2d Cir.1973)). The test is fact specific, not mechanical, and the

 three most important factors for each case are: (1) the severity of the crime at issue; (2)

 the threat of immediate danger to the officers or bystanders; and (3) the suspect’s

 attempts to resist arrest or flee. Id.

        Based on the plaintiff’s version of the facts, a reasonable jury could find that

 Officer Chapman used excessive force when he elbowed Mr. Brown in the back of the

 neck. Although the officers allege that Mr. Brown exited the vehicle in “an aggressive

 and threatening manner,” Mr. Brown, by the plaintiff’s account, initially offered no

 resistance and he complied with the officer’s order to submit to a pat down. Further, Mr.

 Brown did not present an immediate risk to officer safety, and the crimes of which he

 was suspected at that time were relatively minor. The officers had observed Mr. Brown

 operating a motor vehicle without headlights after dark; they suspected that he was

 intoxicated; and he had failed to produce identification when asked. Under these

 particular circumstances, a reasonable jury could find that an unprovoked blow to the

 back of the neck was excessive and unreasonable. As such, sufficient evidence exists

 to show that Mr. Brown’s constitutional rights were violated.


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        Furthermore, it was clearly established at the time of the incident that Mr. Brown

 had the right to be free from such use of force. The Sixth Circuit has consistently held

 that the right to be free from physical force when one is not resisting the police is a

 clearly established right. See Shreve v. Jessamine Cty. Fiscal Court, 453 F.3d 681, 687

 (6th Cir.2006) (holding that strikes to plaintiff’s back and knee are unreasonable where

 plaintiff was already incapacitated, despite plaintiff’s prior attempt to avoid detection by

 police). As such, Officer Chapman was on notice that such use of force was

 unconstitutional. Officer Chapman is accordingly not entitled to qualified immunity with

 respect to the blow allegedly administered to the back of Mr. Brown’s neck.

        Next comes the question whether Officer Chapman used excessive force when

 he first tased Mr. Brown in the chest. It is undisputed that Mr. Brown broke away from

 the officers and ran across the street after Officer Chapman allegedly struck him in the

 back of the neck. As the defendants see it, by taking this action, Mr. Brown was

 resisting arrest and committing a felony. Further, given Mr. Brown’s aggressive posture

 on exiting his car, the officer’s suspicion that Mr. Brown was intoxicated, and Brown’s

 failure to produce identification, the defendants argue, it was reasonable under the

 circumstances for Officer Chapman to deploy his taser in order to effectuate Mr.

 Brown’s arrest.

        The plaintiff disagrees, arguing that Mr. Brown was not so much resisting as he

 was reacting to an allegedly unnecessary traffic stop and Officer Chapman’s allegedly

 unconstitutional use of force. The plaintiff argues that after the decedent broke away

 from them, the officers should have employed other less intrusive means of resolving


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 the situation. As the plaintiff sees it, by deploying the taser aimed at Mr. Brown’s chest,

 Officer Chapman was in effect using deadly force to effect Mr. Brown’s arrest.

        Having considered the facts and circumstances of this particular case, including

 the severity of the crime at issue, whether the suspect poses an immediate threat to the

 safety of the officers or others, and whether he is actively resisting arrest or attempting

 to evade arrest by flight, the Court concludes that it was not objectively unreasonable

 for Officer Chapman to make use of his taser in the way he did. In the Sixth Circuit, “[i]f

 a suspect actively resists arrest and refuses to be handcuffed, officers do not violate the

 Fourth Amendment by using a taser to subdue him.” Hagans v. Franklin Cnty. Sheriff’s

 Office, 695 F.3d 505, 509 (6th Cir. 2012). While the facts leading up to the taser

 deployment are in question, it is undisputed that Mr. Brown broke away from the officers

 and ran across the street in the middle of his arrest. By taking this action, Mr. Brown

 resisted arrest. In addition, this resistance along with his aggressive posture, his refusal

 to provide identification, and the officers’ suspicion that Mr. Brown was intoxicated

 reasonably support Officer Chapman’s belief that the decedent posed a safety threat--a

 belief that, incidentally, turned out to be correct. This Court must give great weight to

 officer’s on-the-spot judgment when events happen very quickly. Smith v. Freland, 954

 F.2d 343, 347 (6th Cir. 1992). In this instance, Officer Chapman did not act

 unreasonably when he tased a resisting suspect. See Hagans v. Franklin Cnty. Sheriff’s

 Office, 695 F.3d 505, 509 (6th Cir. 2012) (resistance, including fleeing, marks the line

 between reasonable and unreasonable tasing).




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        The Court disagrees with the plaintiff’s contention that Officer Chapman’s initial

 use of the taser amounted to deadly and, therefore, excessive force under the

 circumstances. First of all, it appears that the first taser deployment had little, if any,

 effect on the decedent. According to the plaintiff’s declarations, the decedent leaned

 forward, said “ow,” and ran away. Further, while the plaintiff cites a number of cases

 which purportedly support the idea that use of taser may amount to deadly force, none

 of them stand for a per se rule that a chest shot with a taser automatically amounts to

 deadly force. And in any event, the cases cited by the plaintiff are inapposite. The

 plaintiff first relies on Landis v. Baker, 297 Fed. App’x 453, 464 (6th Cir. 2008), in which

 a panel of the Sixth Circuit held that use of force was objectively unreasonable where

 the defendant officer used “a taser in stun mode, in rapid succession on a suspect who

 [was] surrounded by officers, in a prone position in a muddy swamp, who [had] only one

 arm beneath him, and who [had] just been struck several times with a baton.”

        Landis is distinct from the present case. There, unlike here, officers continued to

 use force even though the plaintiff suspect had been already subdued. Moreover, the

 potential for foreseeable injury to the Landis plaintiff existed to a degree not present

 here. In Landis, the plaintiff was held underwater in a muddy swamp for up to fifteen

 seconds while officers repeatedly tased him. Here, Officer Chapman applied his taser

 once, to no apparent effect, while Mr. Brown stood on the street after having resisted

 officers attempts to arrest him.

        The plaintiff also cites two opinions from the Southern District of Ohio to support

 the idea that use of a taser may amount to deadly force. The plaintiff first cites Baker v.


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 Union Township, 2013 WL 4502736 (S.D. Ohio August 22, 2013). In Baker, the court

 denied summary judgment where officers tased a plaintiff who was standing at the top

 of a stairwell, causing the plaintiff to fall down the steps and break his neck. In the

 Court’s view, Baker is inapposite. The officer’s alleged use of force in that case was

 found to be objectively unreasonable based on circumstances that are not present here:

 that plaintiff was not fleeing at the time; he posed no safety threat; and he was

 positioned at the top of a stairwell when the officer tased him.

        The Court concludes that Peabody v. Perry Township, No. 2:10-cv-1078, 2013

 WL 1327026 (S.D. Ohio March 29, 2013) is similarly inapposite. In that case, the court

 determined that a jury question existed as to whether force was reasonable because the

 defendant officer tased a fleeing suspect while the suspect was climbing over an eight

 foot fence. Again, as with Landis and Baker, it was not merely the use of a taser that

 raised the question of whether force was reasonable; instead, it was the use of a taser

 in circumstances where the risk of serious bodily harm or death was substantial. In

 Landis, it was where the plaintiff was submerged in a foot of water; In Baker, it was

 standing at the top of a flight of stairs; and in Peabody, it was where the plaintiff was

 scaling an eight foot fence. No such circumstance existed in the present case.

        Finally, Mercado v. City of Orlando, a case from the Eleventh Circuit, is also

 inapposite. There, a defendant police officer employed a “Sage Launcher”2 in an


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         A “Sage Launcher,” is “a ‘less lethal’ munition that fires a polyurethane
         baton that is 1.5 inches wide, travels approximately 240 feet per second,
         and delivers a force of 154 foot/pounds of energy-approximately the
         energy of a professionally-thrown baseball.” Mercado v. City of Orlando,
         407 F.3d 1152, 1155 (11th Cir. 2005).

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 attempt to subdue a suicidal plaintiff. Mercado v. City of Orlando, 407 F.3d 1152, 1155

 (11th Cir. 2005). The officer fired two rounds from six feet away, and one of them struck

 the plaintiff in the head, causing him serious, debilitating injury. A panel of the Eleventh

 Circuit concluded that the officer’s actions violated the plaintiff’s clearly established

 constitutional rights. Noting the existence of evidence that the officer intentionally shot

 the plaintiff in the head, the court concluded that the officer’s use of the Sage Launcher

 amounted to deadly and excessive force. The court observed that at the time the

 plaintiff was not committing a crime, resisting arrest, or posing an immediate threat to

 the officers. Mercado, in addition to not being binding on this Court, is distinguishable

 from the present case on a number of counts, most noticeably with respect to the type

 of force used. Here it is a taser; there it was a Sage Launcher. The two are not

 equivilent. Moreover, in Mercado, unlike in the present case, the plaintiff neither resisted

 arrest nor posed a safety threat.

        In sum, with respect to Officer Chapman’s initial use of the taser, the plaintiff has

 failed to raise any material fact issues requiring submission to a jury. And the plaintiff

 has failed to demonstrate that the initial use of the taser was unreasonable under the

 circumstances. Therefore, summary judgment will be granted as to this claim.

                                     C. Failure to protect

        Next comes the question whether Officer Ilain is entitled to qualified immunity

 with respect to the plaintiff’s claim that he failed to protect Mr. Brown from Officer

 Chapman’s use of excessive force. First, with respect to Officer Chapman’s use of the

 taser, Mr. Brown’s failure to protect claim against Officer Ilain is not viable. As just


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 discussed, Officer Chapman is entitled to qualified immunity with respect to his use of

 the taser. As such, no claim lies against Officer Ilain with respect to Chapman’s use of

 the taser.

        The remaining question is whether Officer Ilain may be held liable for failing to

 protect the decedent, when Officer Chapman allegedly elbowed Mr. Brown in the back

 of the neck. It is well-settled that officers have a duty to protect a suspect from the

 excessive force of other officers. See Durham v. Nu’Man, 97 F.3d 862, 866-67 (6th Cir.

 1996). Implicit in this proposition is that the officer actually had an opportunity to protect

 the suspect being subjected to excessive force. Based on the facts of the present case

 as they have been presented to the Court, it is not apparent that Officer Ilain would have

 had any opportunity to protect the decedent from the single blow allegedly delivered to

 the back of Mr. Brown’s neck. Nevertheless, because the defendants have not sought

 summary judgment on this point, the Court will allow this claim to go forward against

 Officer Ilain.

                   D. Deliberate Indifference to a Serious Medical Need3


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          The defendants argue that summary judgment is warranted on the
          deliberate indifference claim, because the plaintiff did not include this
          claim in either the initial complaint or the amended complaint. While the
          defendants are correct that the plaintiff did not assert a deliberate
          indifference claim in her pleadings, the Court disagrees that summary
          judgment is proper on this ground. Even though the plaintiff did not file a
          formal motion for leave to amend the complaint to include a deliberate
          indifference claim, the Court has the discretion to allow the plaintiff to
          proceed with the claim “when justice so requires.” Fed.R.Civ.P. 15(a)(2).
          Here, the defendants, fully anticipating that the plaintiff was seeking relief
          on this ground despite the absence of a formal claim, filed a motion for
          summary judgment that included arguments as to why qualified immunity
          protected them from a deliberate indiffference claim. The defendants took

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        Next comes the question whether the defendant officers were deliberately

 indifferent to Mr. Brown’s medical needs. “[D]eliberate indifference” to the serious

 medical needs of pretrial detainees normally constitutes a substantive due process

 violation. Estate of Owensby v. City of Cincinnati, 414 F.3d 596, 602 (6th Cir.2005). In

 support of her claim, the plaintiff indicates that Officer Melendez said “So, who gives a

 fuck?” when Mr. Brown complained twice that he could not breathe. The plaintiff further

 maintains that the defendants were deliberately indifferent after the decedent was

 placed in the back seat of the police car, when he again complained that he could not

 breathe, failed to respond to a light being shone in his eyes, failed to respond to officer’s

 questions, and showed signs that he was unable to sit under his own power. On these

 basic facts, the plaintiff maintains that the defendants were aware of a substantial risk of

 serious harm to Mr. Brown and that the defendant’s disregarded the risk.

                              1. The level of culpability required

        The first issue for the Court to determine is the level of culpability required to

 establish a violation of the decedent’s constitutional right to adequate medical care. The

 plaintiff maintains that the traditional deliberate indifference standard applies, while

 defendants argue for a heightened standard of malice with intent to harm. The




         a second opportunity to address these arguments in their reply brief.
         Therefore, the defendants would not be prejudiced by allowing the
         deliberate indifference claim to proceed to trial. Further, given, as
         described below, that the plaintiff presents a potentially meritorious claim
         of deliberate indifference, the Court concludes that “justice so requires”
         that the Court allow the amendment. Therefore, the Court deems the
         complaint amended to include claims of deliberate indifference against the
         defendants.

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 deliberate indifference standard normally applies in cases, like this one, where a pretrial

 detainee is alleged to have been denied adequate medical care. See, e.g., Blackmore v.

 Kalamazoo County, 390 F.3d 890, 895 (6th Cir. 2004). However, depending on the

 circumstances, a heightened standard requiring malice and intent to harm may apply

 “when unforeseen circumstances demand an officer’s instant judgment,” such as in a

 “high speed vehicle chase.” Ewolski v. City of Brunswick, 287 F.3d 492, 511 (6th Cir.

 2002). When deciding whether the traditional standard or the heightened malice

 standard applies, the Court looks to “whether the circumstances allowed the state

 actors time to fully consider the potential consequences of their conduct.” Id. at 510.

        In the present case, the defendants argue for the heightened standard because

 the decedent’s behavior so quickly transitioned from wildly aggressive resistance to a

 state of passivity. The defendants indicate EMS had already been summoned even

 while the decedent was resisting and that by the time the decedent was showing any

 sign of distress, officers had removed him from the car in order to provide easy access

 to medical personnel. The defendants state that after being removed from the police

 car, EMS arrived within a minute or two.

        The deliberate indifference standard will be “sensibly employed only when actual

 deliberation is practical.” Cnty. of Sacramento v. Lewis, 523 U.S. 833, 851 (1998). For

 instance, the Sixth Circuit found application of the deliberate indifference standard

 proper when six minutes passed between the time the plaintiff was taken into custody

 and the time he was given medical care. Estate of Owensby v. City of Cincinnati, 414

 F.3d 596, 603 (6th Cir. 2005). During that time, “the officers had time to do such things


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 as greet each other, prepare for the arrival of their superiors, pick up dropped items and

 straighten their uniforms; some officers even had time to observe and discuss the

 apparent severity of [the plaintiff’s] injuries. Id. On the other hand, the Supreme Court

 has applied the actual malice standard where the event under scrutiny lasted only

 seventy-five seconds. Lewis, 523 U.S. at 845–46. In that case, officers observed the

 victim’s motorcycle approaching at high speed, and they were forced to make an

 instantaneous decision to give chase. Id. at 853.

        In the present case, it is undisputed that approximately fifteen minutes passed

 between the time Mr. Brown was taken into custody and the time that EMS arrived. The

 officers spent part of that time attempting to move the decedent, who was still resisting,

 into the patrol car. According to Officer Rusnak, Mr. Brown spent “several minutes” in

 the back of the police car, after EMS had already been summoned. (Doc. 25-8, p. 28).

 For a portion of his time in the car, Mr. Brown remained agitated, kicking at the seats

 and screaming. After a “few minutes,” he stopped kicking and screaming, and he

 became quiet and subdued. However, Officer Rusnak monitored Mr. Brown’s condition

 during that entire time. Mr. Brown complained that he was having trouble breathing and

 Officer Merritt opened the windows of the car to give him air. Officer Rusnak opened the

 door of the car and asked Mr. Brown some questions, to which he received “gibberish”

 answers. Officer Rusnak then shone a light in Mr. Brown’s eyes which produced no

 pupillary response. An unspecified amount of time passed, and Sgt. Sattler arrived, who

 observed the decedent “slumped” in the back seat. Sgt. Sattler ordered the officers to




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 remove the decedent from the car. They set Mr. Brown on the curb, where he remained

 for up to two minutes when EMS arrived.

        In the Court’s view, the situation here is not analogous to that described in Lewis,

 where officers were called upon to make an instantaneous decision. More like

 Owensby, the officers had the opportunity to focus their attention on Mr. Brown’s

 condition for several minutes. The Court acknowledges that officers spent a portion of

 their time attempting to place Mr. Brown, who was still resisting, in the back seat of the

 police car. The Court further acknowledges that Mr. Brown’s transition from a resisting

 suspect to a quiet and subdued one was fairly quick. However, after becoming quiet and

 subdued in the car, the officers had several minutes to deliberate on Mr. Brown’s

 condition. Under these facts, the Court concludes that the traditional deliberate

 indifference standard applies.

             2. Whether there is sufficient evidence of deliberate indifference

        To prove the defendants were deliberately indifferent, the plaintiff must satisfy

 two requirements: one objective and one subjective. Comstock v. McCrary, 273 F. 3d

 693, 702 (6th Cir. 2001). To satisfy the objective component, the plaintiff must establish

 the medical need was sufficiently serious. Id. at 702. To satisfy the subjective

 component, the plaintiff must show the officer to “be aware of facts from which the

 inference could be drawn that a substantial risk of serious harm exists, and he must

 also draw the inference.” Farmer v. Brennan, 511 U.S. 825, 837 (1994). As such,

 “[k]nowledge of the asserted serious needs or of circumstances clearly indicating the




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 existence of such needs, is essential to a finding of deliberate indifference.” Horn by

 Parks v. Madison Cnty. Fiscal Court, 22 F.3d 653, 660 (6th Cir. 1994).

        In the present case, the plaintiff has plainly satisfied the objective component, as

 she provides evidence that Mr. Brown was objectively suffering from a serious medical

 need. Mr. Brown died while in custody and the coroner concluded that his death

 occurred as a result of “cardiopulmonary arrest following physical exertion during law

 enforcement activity.” (Doc. 25-19).

        Next, the Court considers whether the plaintiff has provided sufficient evidence of

 the subjective component. The plaintiff begins by arguing that the decedent’s initial

 breathing complaint put Officer Melendez on notice that there was a substantial risk of

 serious harm to Mr. Brown, and the plaintiff argues that Officer Melendez’s response,

 “who gives a fuck?” establishes a disregard for that risk. The Court disagrees. Even

 though the decedent told Officer Melendez he could not breathe, the circumstances

 were such that Officer Melendez could not have reasonably inferred that the decedent

 was suffering from a serious medical condition at that time. It is undisputed that after his

 initial breathing complaint to Officer Melendez, Mr. Brown continued to actively resist

 the officer’s efforts to restrain him up until they placed him in the back of the police car.

 Officer Melendez attempted to lean him over a nearby wheelchair ramp for a search,

 and the decedent attempted to kick the officer. (Doc. 25-5, p. 41). Officers Blaine and

 Rusnak then attempted to take control of the decedent, but he continued to resist. (Doc.

 25-4, p. 25; Doc. 25-6, p. 13). They placed the still resisting decedent in the patrol car,

 where he was shouting and kicking at the door. (Doc. 25-7 at 15). Any risk of serious


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 harm to Mr. Brown, at least in relation to his ability to breathe, would not have been

 evident while the decedent was still shouting and actively resisting. Therefore, Officer

 Melendez’s statement and his failure to provide medical care do not amount to an

 actionable offense under the circumstances.

        The Court next addresses the plaintiff’s claim that the defendants were

 deliberately indifferent to the decedent’s serious medical needs after he was placed in

 the back of the police car. While it is a close question, having considered the evidence

 in a light most favorable to the plaintiff, the Court concludes that fact issues preclude

 summary judgment with respect to whether Officer Rusnak, Officer Merritt, and Sgt.

 Sattler were deliberately indifferent after Mr. Brown was placed in the cruiser. As

 described below, the plaintiff supplies evidence to show that these three defendants

 were aware that Mr. Brown was experiencing a serious medical condition at that time,

 and she provides evidence to show that these defendants failed to adequately respond

 to his condition.4

        Officer Rusnak and Officer Merritt both testified to their belief that Mr. Brown was

 breathing normally up until the paramedics arrived. (Doc. 25-7, pp. 18-24). However,

 there is sufficient evidence on record for a reasonable jury to discredit this testimony



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         Although it is apparent that some of the other defendant officers were
         present while Mr. Brown was cuffed in the back of the car, the plaintiff fails
         to provide any evidence showing that any other officer, besides these
         three, were aware of Mr. Brown’s condition after he had been placed in
         the back of the car. Therefore, summary judgment on the deliberate
         indifference claim will be granted as to Officers Michael Chapman, Belal
         Ilain, Erik Melendez, Pedro Vargas, David Skrletts, Kevin Kincaid, Mark
         Blaine, Dominik Pendelton, Gregory Jones, and Kevin Walker.

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 and conclude that Mr. Brown’s condition had changed while cuffed in the back of the

 police car. A reasonable jury could further conclude that Officers Rusnak and Merritt,

 and Sgt. Sattler, being aware of Mr. Brown’s changed condition, could have drawn the

 inference that a substantial risk of serious harm to Mr. Brown existed. First, Officer

 Rusnak testified that Mr. Brown had told him that was having trouble breathing while in

 the back of the police car. Officer Merritt testified that he was aware of Mr. Brown’s

 breathing complaint. Both Rusnak and Merritt acknowledged that at some point while

 cuffed in the back of the police car, Mr. Brown became quiet and subdued, following a

 prolonged struggle and multiple taser applications. Although the officers claim that Mr.

 Brown never exhibited any signs that he was unable to breathe, the officers apparently

 found Mr. Brown’s claim credible enough that Officer Merritt opened the windows of the

 cruiser in order to give him more air. Further, at some point Officer Rusnak opened the

 door of the police car, a fact by which a jury could reasonably infer Officer Rusnak’s

 belief that Mr. Brown no longer presented a flight risk.

        While Mr. Brown was in the back seat, Officer Rusnak asked him questions but

 he provided only “gibberish” responses. And while Mr. Brown was vocalizing

 incoherently in the back seat, he had become completely unresponsive: Rusnak shone

 a flashlight in the decedent’s eyes which produced no pupillary response. Rusnak

 further testified that the decedent was not making eye contact or moving his head.

 Instead, the decedent was staring blankly into space. Sgt. Sattler testified that when he

 arrived he observed Mr. Brown “slumped over” and not responding, but, as he recalls,

 still breathing. He instructed the officers to remove the decedent from the car. (Doc. 25-


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 15, p. 14). According to Sgt. Sattler, Mr. Brown’s condition did not improve when they

 removed him from the car.

        The officers say that Mr. Brown remained seated on the curb until EMS arrived

 up to two minutes later. According to Officer Rusnak, Mr. Brown was kneeling on his

 own, staring at the sky. However, the testimony of the paramedics who treated Mr.

 Brown undermines this claim and further calls into question the defendants’ version of

 events. Paramedics Fletcher, McGraw, and Barrett all testified that when they arrived,

 Mr. Brown was positioned on the ground leaning against an officer’s leg. Paramedic

 Fletcher described Mr. Brown as “propped up.” The paramedics placed Mr. Brown on a

 gurney, and they quickly determined that Mr. Brown was in cardiac arrest. This

 testimony is at odds with Rusnak’s claim that up until the time paramedics arrived Mr.

 Brown was kneeling, under his own power, while staring up at the sky. While this

 difference in testimony may perhaps appear “miniscule,” as the defendants claim, in the

 Court’s view, it is important. Based on the paramedics’ testimony, a reasonable jury

 could call into question the defendants’ suggestion that Mr. Brown was breathing and

 sitting upright on his own up until the paramedics arrived.

        Certainly, after considering all the evidence, a rational jury could find in the

 defendants’ favor and conclude based on the defendants’ testimony that Mr. Brown was

 not exhibiting signs by which the officers should have inferred the existence of a serious

 risk to Mr. Brown’s health. And consistent with the officers’ version of the events, a jury

 could find that Mr. Brown stopped breathing only when EMS arrived on the scene.

 However, the evidence in favor of this position is not so one-sided that the Court is left

 with no choice but to grant summary judgment. In particular, as noted above, both

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 Rusnak and Merritt knew of Mr. Brown’s breathing complaint while in the back of the

 car, and they addressed his complaint by opening the windows to provide more air; the

 officers knew that Mr. Brown had become quiet and subdued and “lethargic”; Rusnak

 shone a light in Brown’s eyes, which produced no response; Mr. Brown was not moving

 his head but was staring blankly into space, slumped over in the back of the car; and he

 was not responding to the defendants’ questions. Officer Rusnak opened the car door

 without concern that Mr. Brown would attempt to escape, even though he was wildly

 resisting only minutes earlier. All this evidence viewed in the plaintiff’s favor and

 considered in conjunction with the paramedics’ testimony that Mr. Brown was “propped

 up” against an officer’s leg when they arrived amount to “facts from which the inference

 could be drawn that a substantial risk of serious harm existed” when Mr. Brown was in

 the back of the police car.

        Next is the question whether Officer Rusnak, Officer Merritt, and Sgt. Sattler

 disregarded the risk of serious harm to Mr. Brown. It is undisputed that Officer Rusnak

 summoned EMS soon after Mr. Brown was taken into custody. Merritt and Sattler were

 aware that EMS was on its way. Under Sixth Circuit case law, simply calling EMS may

 not have been enough. In Jones v. City of Cincinnati, 521 F.3d 555, 560 (6th Cir. 2008),

 defendant officers, who knew that their suspect had stopped breathing, were denied

 qualified immunity on a deliberate indifference claim even though they had summoned

 EMS. In the present case, Officer Rusnak, Officer Merritt, and Sgt. Sattler could likewise

 be held liable for showing a deliberate indifference to Mr. Brown’s serious medical

 condition, if a jury were convinced that these defendants were aware of the existence of

 a substantial risk of serious harm to Mr. Brown.

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        The decedent had a clearly established right to adequate medical care at the

 time of the incident. See id. (“The right of a suspect in custody to receive adequate

 medical care, even if the suspect had been fleeing and resisting before the officers

 placed him in custody, was clearly established” as of December 31, 2010). Therefore,

 qualified immunity will be denied with respect to the claim of deliberate indifference

 against Officer Rusnak, Officer Merritt, and Sgt. Sattler.

  E. Whether Cleveland may be held liable for the plaintiff’s claims of excessive force and
                               deliberate indifference.

        Next comes the question whether the City of Cleveland may be held liable for the

 plaintiff’s constitutional claims. A municipality is liable for a plaintiff’s constitutional injury

 when the municipality’s custom or policy caused the injury. Monell v. Dept. of Soc.

 Servs., 436 U.S. 658, 690-91 (1978).

        As described above, Mr Brown’s constitutional rights were not violated when

 Officer Chapman intially deployed his taser. As such, there is nothing for which the City

 of Cleveland can be held liable in this respect. This leaves the issues of Cleveland’s

 liability with respect to the blow delivered by Chapman to the back of Mr. Brown’s neck

 and with respect to the claims of deliberate indifference against Officer Rusnak, Officer

 Merritt, and Sgt. Sattler. The plaintiff argues that under a theory of ratification, Cleveland

 is liable for these alleged injuries. A municipality ratifies – and therefore “causes”– the

 unconstitutional acts of its employees, when it fails to meaningfully investigate and

 punish allegations of unconstitutional conduct. See Leach v. Shelby County Sheriff, 891

 F.2d 1241 (6th Cir.1990); Marchese v. Lucas, 758 F.2d 181 (6th Cir.1985). To prove

 liability by ratification, the plaintiffs must show that “(1) a final municipal policymaker


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 approved an investigation . . . (2) . . . so inadequate as to constitute a ratification of the[

 ] alleged” constitutional violation. Wright v. City of Canton, Ohio, 138 F. Supp. 2d 955,

 966 (N.D. Ohio 2001).

        In the present case, the plaintiff indicates that the officers were not disciplined for

 their actions, and the plaintiff argues that Cleveland’s investigation of the incident was

 inadequate because Cleveland failed to “discover the eyewitness testimony that

 contradicts the Defendants’ version of events.” According to the plaintiff, “[i]f the

 investigation had been designed to find out what actually happened, surely this

 information would have been discovered.” Cleveland does not challenge this argument.

 In the Court’s view, the plaintiff has supplied sufficient evidence for trial on the question

 of Cleveland’s liability. Therefore, the Court will deny summary judgment on the claim

 that Cleveland is liable for the decedent’s injury resulting from Officer Chapman having

 struck him in the back of the neck. Summary judgment is likewise denied with respect to

 the claim that Cleveland is liable for the plaintiff’s claim of deliberate indifference to a

 serious medical condition. Summary judgment will be otherwise granted with respect to

 the plaintiff’s constitutional claims against the City of Cleveland.

                                      F. State Law Claims

        Finally, the Court addresses whether the individual defendants are statutorily

 immune from the plaintiff’s state law claims of wrongful death and assault and battery

 pursuant to R.C. 2744.03 . Under Ohio law it is presumed that a municipal employee is

 immune from liability. Cook v. Cincinnati, 103 Ohio App. 3d 80, 90, 658 N.E.2d 814, 821

 (1995). However, a plaintiff can rebut that presumption by showing that any of the

 following exceptions apply:

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        (a) the employee’s acts or omissions were manifestly outside the scope of the
        employee’s employment or official responsibilities;
        (b) The employee’s acts or omissions were with malicious purpose, in bad faith,
        or in a wanton or reckless manner;
        (c) Civil liability is expressly imposed upon the employee by a section of the
        Revised Code.

 R.C. § 2744(A)(6). In this instance, the plaintiffs argue that the second exception

 applies, because the defendants acted “in a wanton or reckless manner.” In Ohio,

 wanton or reckless conduct is “perversely disregarding a known risk, or acting or

 intentionally failing to act in contravention of a duty, knowing or having reason to know

 of facts which would lead a reasonable person to realize such conduct creates an

 unreasonable risk of harm substantially greater than the risk necessary to make the

 conduct negligent.” Chesher v. Neyer, 477 F.3d 784, 797 (6th Cir.2007).

        In the Court’s view, the plaintiff has rebutted the presumption that Officer

 Chapman, Officer Rusnak, Officer Merritt, and Sgt. Sattler are entitled to statutory

 immunity, but she has failed to do so with respect to the remaining officers. There is

 evidence to show that Officer Chapman delivered a blow to the back of Mr. Brown’s

 neck with little or no provocation. Further, there is evidence to show that Officer Rusnak,

 Officer Merritt, and Sgt. Sattler failed to act in spite of knowledge of the existence of a

 substantial risk of serious harm to Mr. Brown after he had been placed in the back of the

 police car. In the Court’s view, a reasonable jury could conclude that these acts were

 committed in a wanton or reckless manner. As such, the plaintiff may proceed with her

 state law claims against Officer Chapman, Officer Rusnak, Officer Chapman, and Sgt.

 Sattler.




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                                               IV.

        For the reasons stated above, the defendants’ motion for summary judgment is

 denied in part and granted in part. The motion is denied with respect to the plaintiff’s

 claim that Officer Chapman used excessive force when he elbowed Mr. Brown in the

 back of the neck; denied with respect to the plaintiff’s claim that Officer Ilain failed to

 protect the decedent from Officer Chapman’s use of excessive force; denied with

 respect to the deliberate indifference claims against Officer Rusnak and Officer Merritt

 and Sgt. Sattler; denied as to Cleveland’s liability on the excessive force claim and the

 deliberate indifference claim; denied with respect to the state law claims against Officer

 Chapman, Officer Rusnak, Officer Merritt, and Sgt. Sattler. The motion is otherwise

 granted.




        IT IS SO ORDERED.
                                                        /s/ Lesley Wells
                                                     UNITED STATES DISTRICT JUDGE

 Date: 13 January 2015




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